                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                                  )
CBD INDUSTRIES, LLC,              )
                                  )
                Plaintiff,        )    Civil Action No. ______
                                  )
     v.                           )    JURY TRIAL DEMANDED
                                  )
MAJIK MEDICINE, LLC,              )
                                  )
                Defendant.        )
                                  )

                               EXHIBIT C




    Case 3:21-cv-00069-RJC-DCK Document 1-3 Filed 02/12/21 Page 1 of 9
Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)


                                                              Response to Office Action


                                                     The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         86914580
 LAW OFFICE ASSIGNED                                                   LAW OFFICE 108
 MARK SECTION
 MARK                                                                  https://tmng-al.uspto.gov/resting2/api/img/86914580/large
 LITERAL ELEMENT                                                       CBD MD
 STANDARD CHARACTERS                                                   YES
 USPTO-GENERATED IMAGE                                                 YES
                                                                       The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                       size or color.
 OWNER SECTION (current)
 NAME                                                                  Majik Medecine, LLC
 STREET                                                                629 Village Lane South
 CITY                                                                  Mandeville
 STATE                                                                 Louisiana
 ZIP/POSTAL CODE                                                       70471
 COUNTRY                                                               United States
 PHONE                                                                 985-259-5040
 EMAIL                                                                 XXXX
 OWNER SECTION (proposed)
 NAME                                                                  Majik Medicine, LLC
 STREET                                                                629 Village Lane South
 CITY                                                                  Mandeville
 STATE                                                                 Louisiana
 ZIP/POSTAL CODE                                                       70471
 COUNTRY                                                               United States
 PHONE                                                                 985-259-5040
 EMAIL                                                                 XXXX
 ARGUMENT(S)
 REMARKS The examiner is thanked for acknowledging that the Office?s database contains no conflicting marks preventing registration.
 SECTION 2(e)(1) Merely Descriptive Rejection The examiner has concluded that the applicants mark is merely descriptive of the goods. The
 applicant respectfully disagrees that the mark taken as a whole would be considered merely descriptive. However the applicants have amended
 this registration to the supplemental registrar and thus this issue is now effectively moot (although the applicant may still submit arguments
 and evidence TMEP 816.04). DISCLAIMER The applicant has submitted a disclaimer herewith disclaiming the exclusive right to use the term

                              Case 3:21-cv-00069-RJC-DCK Document 1-3 Filed 02/12/21 Page 2 of 9
CBD apart from the mark as a whole. IDENTIFICATION OF GOODS The Identification of goods for class 3 and 5 have been amended in
accordance with the examiner?s suggestion. International Class 35 has been cancelled in this response. ADDITIONAL INFORMATION The
examiner has indicated that the applicant must submit additional information about the goods and/or services. See 37 C.F.R. ??2.61(b), 2.69; In
re Stellar Int?l, Inc., 159 USPQ 48, 50-52 (TTAB 1968); TMEP ??814, 907. As noted above the goods sold under this mark are directed
towards goods in International Class 3: Skin and body topical lotions, creams and oils for cosmetic use; all of the aforementioned containing
CBD, and goods in International Class 5: Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal
purposes; all of the aforementioned containing CBD. The details of these goods can be seen in the labels in the attached specimens also
concurrently submitted herewith. CBD has well established antioxidant and anti-inflammatory properties, which properties alone have made
CBD particularly well suited for use in skin care products. The politics of CBD have yielded a proliferation of ?studies? both for and against
CBD, and other hemp based products, and delving into the plethora of these discussions is not particularly relevant here, although proponents
of CBD will list advantages of CBD skin care products far exceeding those tied to its known antioxidant and anti-inflammatory properties.
STATEMENT OF COMPLIANCE WITH FEDERAL LAW Pursuant to the examiner?s request the applicant hereby submits a written
statement indicating that all the goods identified in the application do and will comply with relevant federal law, including the Controlled
Substances Act (CSA), 21 U.S.C. ??801-971. See 37 C.F.R. ?2.69; TMEP ?907. The examiner is correct that the CSA prohibits, among other
things, manufacturing, distributing, dispensing, or possessing certain controlled substances, including marijuana and marijuana-based
preparations. 21 U.S.C. ??812, 841(a)(1), 844(a); see also 21 U.S.C. ?802(16) (defining ?[marijuana]?). The CSA also makes it unlawful to
sell, offer for sale, or use any facility of interstate commerce to transport drug paraphernalia, i.e., ?any equipment, product, or material of any
kind which is primarily intended or designed for use in manufacturing, compounding, converting, concealing, producing, processing,
preparing, injecting, ingesting, inhaling, or otherwise introducing into the human body a controlled substance, possession of which is unlawful
under [the CSA].? 21 U.S.C. ?863. As the examiner has noted, marijuana is currently listed as a Schedule I narcotic under the federal
Controlled Substances Act, meaning the federal government believes it to be a dangerous drug with no recognized medical benefit (a
conclusion many have argued against). Consequently, any CBD derived from marijuana violates the federal Controlled Substances Act. Hemp,
on the other hand, is more complicated. The DEA defines hemp as the parts of the cannabis plant excluded from the Controlled Substances
Act, namely the mature stalks and seeds. To legally grow cannabis in the U.S. ? hemp or not ? the grower must possess a permit from the
DEA, and consequently, cultivating hemp without a permit remains a federal crime. However there is, currently, an exception is the 2014
federal farm bill, which defines ?industrial hemp? as cannabis that contains less than 0.3 percent THC by weight, and which allows state
departments of agriculture, universities, and colleges to cultivate industrial hemp for educational and research purposes without a DEA permit.
Despite the prohibition on hemp cultivation without a DEA-issued permit, it is not a violation of the federal Controlled Substances Act to
purchase, sell, and possess processed hemp products. In the 2005 case of Hemp Industries Association v. Drug Enforcement Administration,
the Ninth Circuit held that the DEA had gone beyond its mandate in attempting to regulate all products containing any amount of THC because
?Congress did not regulate non-psychoactive hemp in Schedule I.? The Ninth Circuit further held that ?[t]he DEA?s action is not a mere
classification of its THC regulations; it improperly renders naturally-occurring non-psychoactive hemp illegal for the first time.? The court
concluded that Congressional intent was, ?unambiguous? with regard to the regulation of non psychoactive hemp,? and ruled that the DEA
?cannot regulate naturally-occurring THC not contained within or derived from marijuana ? i.e., non-psychoactive hemp products-because
non-psychoactive hemp is not included in Schedule I.? As a result of the Hemp Industries Association case, companies and individuals may
freely sell CBD derived from processed hemp (not from marijuana), imported from outside the U.S., or from growers exempted from DEA
permits or from those with DEA permits. The CBD of the applicant?s goods is appropriately sourced such that that all the goods identified in
the application do and will comply with relevant federal law, including the Controlled Substances Act (CSA), 21 U.S.C. ??801-971.
WRITTEN RESPONSES - ?Do applicant?s identified goods, or the goods featured in the applicant?s services, contain marijuana, marijuana-
based preparations, or marijuana extracts or derivatives, synthetic marijuana, or any other illegal controlled substances?? The applicant?s
identified goods do not contain marijuana, marijuana-based preparations, or marijuana extracts or derivatives, synthetic marijuana, or any other
illegal controlled substances. - ?Is the CBD in the applied-for goods, and the goods featured in the applicant?s services, derived from
marijuana or from industrial hemp?? The CBD in applicant?s identified goods are derived from industrial hemp. - ?Are the applicant?s
goods/services lawful pursuant to the Controlled Substances Act?? The applicant?s identified goods do not contain marijuana, marijuana-based
preparations, or marijuana extracts or derivatives, synthetic marijuana, or any other illegal controlled substances, as CBD in applicant?s
identified goods are derived from industrial hemp and applicant?s identified goods are lawful pursuant to the Controlled Substances Act. MISC
The applicant has corrected a typo regarding their name in this response as well.
GOODS AND/OR SERVICES SECTION (003)(current)
INTERNATIONAL CLASS                                        003
DESCRIPTION

Skin and body topical lotions, creams and oils for cosmetic use
FILING BASIS                                               Section 1(b)
GOODS AND/OR SERVICES SECTION (003)(proposed)
INTERNATIONAL CLASS                                        003
TRACKED TEXT DESCRIPTION

Skin and body topical lotions, creams and oils for cosmetic use; all of the aforementioned containing CBD

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FINAL DESCRIPTION

Skin and body topical lotions, creams and oils for cosmetic use; all of the aforementioned containing CBD
FILING BASIS                                             Section 1(b)
GOODS AND/OR SERVICES SECTION (005)(current)
INTERNATIONAL CLASS                                      005
DESCRIPTION

Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes
FILING BASIS                                             Section 1(b)
GOODS AND/OR SERVICES SECTION (005)(proposed)
INTERNATIONAL CLASS                                      005
TRACKED TEXT DESCRIPTION

Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes; all of the aforementioned
containing CBD
FINAL DESCRIPTION

Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes; all of the aforementioned
containing CBD
FILING BASIS                                             Section 1(b)
GOODS AND/OR SERVICES SECTION (035)(class deleted)
ADDITIONAL STATEMENTS SECTION
DISCLAIMER                                               No claim is made to the exclusive right to use CBD apart from the mark as shown.
                                                         The applicant seeks registration of the mark on the Supplemental Register (i.e., a
                                                         change of the words 'Principal Register' to 'Supplemental Register'). NOTE: The
SUPPLEMENTAL REGISTER
                                                         applicant has separately filed an Allegation of Use, to change the basis of this
                                                         application from Section 1(b), intent-to-use, to Section 1(a), use in commerce.
NEW ATTORNEY SECTION
NAME                                                     Blynn L. Shideler
FIRM NAME                                                The BLK Law Group
INDIVIDUAL ATTORNEY
DOCKET/REFERENCE NUMBER
                                                         Majik-1601

INTERNAL ADDRESS                                         Suite 200
STREET                                                   3500 Brooktree Road
CITY                                                     Wexford
STATE                                                    Pennsylvania
ZIP/POSTAL CODE                                          15090
COUNTRY                                                  United States
PHONE                                                    724-934-5450
FAX                                                      724-934-5461
EMAIL                                                    Blynn@BLKLawGroup.com
AUTHORIZED EMAIL COMMUNICATION                           Yes
CORRESPONDENCE SECTION


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                                                                       MAJIK MEDECINE, LLC
                                                                       MAJIK MEDECINE, LLC
                                                                       629 VILLAGE LANE SOUTH
 ORIGINAL ADDRESS                                                      MANDEVILLE
                                                                       Louisiana
                                                                       US
                                                                       70471
 NEW CORRESPONDENCE SECTION
 NAME                                                                  Blynn L. Shideler
 FIRM NAME                                                             The BLK Law Group
 DOCKET/REFERENCE NUMBER                                               Majik-1601
 INTERNAL ADDRESS                                                      Suite 200
 STREET                                                                3500 Brooktree Road
 CITY                                                                  Wexford
 STATE                                                                 Pennsylvania
 ZIP/POSTAL CODE                                                       15090
 COUNTRY                                                               United States
 PHONE                                                                 724-934-5450
 FAX                                                                   724-934-5461
 EMAIL                                                                 Blynn@BLKLawGroup.com;Blynn@BLKLawGroup.com
 AUTHORIZED EMAIL COMMUNICATION                                        Yes
 SIGNATURE SECTION
 RESPONSE SIGNATURE                                                    /Blynn L. Shideler/
 SIGNATORY'S NAME                                                      Blynn L. Shideler
 SIGNATORY'S POSITION                                                  Attorney of Record, PA Bar Memmber
 SIGNATORY'S PHONE NUMBER                                              724-934-5450
 DATE SIGNED                                                           12/14/2016
 AUTHORIZED SIGNATORY                                                  YES
 FILING INFORMATION SECTION
 SUBMIT DATE                                                           Wed Dec 14 19:07:46 EST 2016
                                                                       USPTO/ROA-XXX.XXX.XXX.XX-
                                                                       20161214190746486699-8691
                                                                       4580-5701fb5ec1c45feb8e07
 TEAS STAMP
                                                                       c24a36e1b56245c7674c14f9d
                                                                       e9f2f716538a399a0ce-N/A-N
                                                                       /A-20161214185552202557




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                                                                   Response to Office Action


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To the Commissioner for Trademarks:

Application serial no. 86914580 CBD MD(Standard Characters, see https://tmng-al.uspto.gov/resting2/api/img/86914580/large) has been
amended as follows:

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:

REMARKS The examiner is thanked for acknowledging that the Office?s database contains no conflicting marks preventing registration.
SECTION 2(e)(1) Merely Descriptive Rejection The examiner has concluded that the applicants mark is merely descriptive of the goods. The
applicant respectfully disagrees that the mark taken as a whole would be considered merely descriptive. However the applicants have amended
this registration to the supplemental registrar and thus this issue is now effectively moot (although the applicant may still submit arguments and
evidence TMEP 816.04). DISCLAIMER The applicant has submitted a disclaimer herewith disclaiming the exclusive right to use the term CBD
apart from the mark as a whole. IDENTIFICATION OF GOODS The Identification of goods for class 3 and 5 have been amended in accordance
with the examiner?s suggestion. International Class 35 has been cancelled in this response. ADDITIONAL INFORMATION The examiner has
indicated that the applicant must submit additional information about the goods and/or services. See 37 C.F.R. ??2.61(b), 2.69; In re Stellar Int?l,
Inc., 159 USPQ 48, 50-52 (TTAB 1968); TMEP ??814, 907. As noted above the goods sold under this mark are directed towards goods in
International Class 3: Skin and body topical lotions, creams and oils for cosmetic use; all of the aforementioned containing CBD, and goods in
International Class 5: Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes; all of the
aforementioned containing CBD. The details of these goods can be seen in the labels in the attached specimens also concurrently submitted
herewith. CBD has well established antioxidant and anti-inflammatory properties, which properties alone have made CBD particularly well
suited for use in skin care products. The politics of CBD have yielded a proliferation of ?studies? both for and against CBD, and other hemp
based products, and delving into the plethora of these discussions is not particularly relevant here, although proponents of CBD will list
advantages of CBD skin care products far exceeding those tied to its known antioxidant and anti-inflammatory properties. STATEMENT OF
COMPLIANCE WITH FEDERAL LAW Pursuant to the examiner?s request the applicant hereby submits a written statement indicating that all
the goods identified in the application do and will comply with relevant federal law, including the Controlled Substances Act (CSA), 21 U.S.C.
??801-971. See 37 C.F.R. ?2.69; TMEP ?907. The examiner is correct that the CSA prohibits, among other things, manufacturing, distributing,
dispensing, or possessing certain controlled substances, including marijuana and marijuana-based preparations. 21 U.S.C. ??812, 841(a)(1),
844(a); see also 21 U.S.C. ?802(16) (defining ?[marijuana]?). The CSA also makes it unlawful to sell, offer for sale, or use any facility of
interstate commerce to transport drug paraphernalia, i.e., ?any equipment, product, or material of any kind which is primarily intended or
designed for use in manufacturing, compounding, converting, concealing, producing, processing, preparing, injecting, ingesting, inhaling, or
otherwise introducing into the human body a controlled substance, possession of which is unlawful under [the CSA].? 21 U.S.C. ?863. As the
examiner has noted, marijuana is currently listed as a Schedule I narcotic under the federal Controlled Substances Act, meaning the federal
government believes it to be a dangerous drug with no recognized medical benefit (a conclusion many have argued against). Consequently, any
CBD derived from marijuana violates the federal Controlled Substances Act. Hemp, on the other hand, is more complicated. The DEA defines
hemp as the parts of the cannabis plant excluded from the Controlled Substances Act, namely the mature stalks and seeds. To legally grow
cannabis in the U.S. ? hemp or not ? the grower must possess a permit from the DEA, and consequently, cultivating hemp without a permit
remains a federal crime. However there is, currently, an exception is the 2014 federal farm bill, which defines ?industrial hemp? as cannabis that
contains less than 0.3 percent THC by weight, and which allows state departments of agriculture, universities, and colleges to cultivate industrial
hemp for educational and research purposes without a DEA permit. Despite the prohibition on hemp cultivation without a DEA-issued permit, it
is not a violation of the federal Controlled Substances Act to purchase, sell, and possess processed hemp products. In the 2005 case of Hemp
Industries Association v. Drug Enforcement Administration, the Ninth Circuit held that the DEA had gone beyond its mandate in attempting to
regulate all products containing any amount of THC because ?Congress did not regulate non-psychoactive hemp in Schedule I.? The Ninth
Circuit further held that ?[t]he DEA?s action is not a mere classification of its THC regulations; it improperly renders naturally-occurring non-
psychoactive hemp illegal for the first time.? The court concluded that Congressional intent was, ?unambiguous? with regard to the regulation of
non psychoactive hemp,? and ruled that the DEA ?cannot regulate naturally-occurring THC not contained within or derived from marijuana ? i.e.,
non-psychoactive hemp products-because non-psychoactive hemp is not included in Schedule I.? As a result of the Hemp Industries Association
case, companies and individuals may freely sell CBD derived from processed hemp (not from marijuana), imported from outside the U.S., or
from growers exempted from DEA permits or from those with DEA permits. The CBD of the applicant?s goods is appropriately sourced such
that that all the goods identified in the application do and will comply with relevant federal law, including the Controlled Substances Act (CSA),
21 U.S.C. ??801-971. WRITTEN RESPONSES - ?Do applicant?s identified goods, or the goods featured in the applicant?s services, contain
marijuana, marijuana- based preparations, or marijuana extracts or derivatives, synthetic marijuana, or any other illegal controlled substances??
The applicant?s identified goods do not contain marijuana, marijuana-based preparations, or marijuana extracts or derivatives, synthetic
marijuana, or any other illegal controlled substances. - ?Is the CBD in the applied-for goods, and the goods featured in the applicant?s services,
derived from marijuana or from industrial hemp?? The CBD in applicant?s identified goods are derived from industrial hemp. - ?Are the
applicant?s goods/services lawful pursuant to the Controlled Substances Act?? The applicant?s identified goods do not contain marijuana,
marijuana-based preparations, or marijuana extracts or derivatives, synthetic marijuana, or any other illegal controlled substances, as CBD in
applicant?s identified goods are derived from industrial hemp and applicant?s identified goods are lawful pursuant to the Controlled Substances
Act. MISC The applicant has corrected a typo regarding their name in this response as well.

CLASSIFICATION AND LISTING OF GOODS/SERVICES

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Applicant hereby deletes the following class of goods/services from the application.
Class 035 for On-line wholesale store services featuring cosmetic and herbal products; On-line wholesale store services featuring cbd sales

Applicant proposes to amend the following class of goods/services in the application:
Current: Class 003 for Skin and body topical lotions, creams and oils for cosmetic use
Original Filing Basis:
Filing Basis: Section 1(b), Intent to Use: For a trademark or service mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to use the mark in commerce on or in connection with the identified goods/services in the application. For a
collective trademark, collective service mark, or collective membership mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by members on or in connection with
the identified goods/services/collective membership organization. For a certification mark application: As of the application filing date, the
applicant had a bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by authorized users in
connection with the identified goods/services, and the applicant will not engage in the production or marketing of the goods/services to which the
mark is applied, except to advertise or promote recognition of the certification program or of the goods/services that meet the certification
standards of the applicant.

Proposed:
Tracked Text Description: Skin and body topical lotions, creams and oils for cosmetic use; all of the aforementioned containing CBD

Class 003 for Skin and body topical lotions, creams and oils for cosmetic use; all of the aforementioned containing CBD
Filing Basis: Section 1(b), Intent to Use: For a trademark or service mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to use the mark in commerce on or in connection with the identified goods/services in the application. For a
collective trademark, collective service mark, or collective membership mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by members on or in connection with
the identified goods/services/collective membership organization. For a certification mark application: As of the application filing date, the
applicant had a bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by authorized users in
connection with the identified goods/services, and the applicant will not engage in the production or marketing of the goods/services to which the
mark is applied, except to advertise or promote recognition of the certification program or of the goods/services that meet the certification
standards of the applicant.

Applicant proposes to amend the following class of goods/services in the application:
Current: Class 005 for Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes
Original Filing Basis:
Filing Basis: Section 1(b), Intent to Use: For a trademark or service mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to use the mark in commerce on or in connection with the identified goods/services in the application. For a
collective trademark, collective service mark, or collective membership mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by members on or in connection with
the identified goods/services/collective membership organization. For a certification mark application: As of the application filing date, the
applicant had a bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by authorized users in
connection with the identified goods/services, and the applicant will not engage in the production or marketing of the goods/services to which the
mark is applied, except to advertise or promote recognition of the certification program or of the goods/services that meet the certification
standards of the applicant.

Proposed:
Tracked Text Description: Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes; all of
the aforementioned containing CBD

Class 005 for Medicinal creams for skin care; Medicinal herbal preparations; Medicinal oils; Herbs for medicinal purposes; all of the
aforementioned containing CBD
Filing Basis: Section 1(b), Intent to Use: For a trademark or service mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to use the mark in commerce on or in connection with the identified goods/services in the application. For a
collective trademark, collective service mark, or collective membership mark application: As of the application filing date, the applicant had a
bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by members on or in connection with
the identified goods/services/collective membership organization. For a certification mark application: As of the application filing date, the
applicant had a bona fide intention, and was entitled, to exercise legitimate control over the use of the mark in commerce by authorized users in
connection with the identified goods/services, and the applicant will not engage in the production or marketing of the goods/services to which the
mark is applied, except to advertise or promote recognition of the certification program or of the goods/services that meet the certification
standards of the applicant.

APPLICANT AND/OR ENTITY INFORMATION
Applicant proposes to amend the following:


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Current: Majik Medecine, LLC, a limited liability company legally organized under the laws of Louisiana, having an address of
   629 Village Lane South
   Mandeville, Louisiana 70471
   United States

   XXXX (not authorized)
   985-259-5040
Proposed: Majik Medicine, LLC, a limited liability company legally organized under the laws of Louisiana, having an address of
   629 Village Lane South
   Mandeville, Louisiana 70471
   United States
   XXXX (not authorized)
   985-259-5040

ATTORNEY ADDRESS
Applicant proposes to amend the following:
Proposed:
Blynn L. Shideler of The BLK Law Group, having an address of
Suite 200 3500 Brooktree Road Wexford, Pennsylvania 15090
United States
Blynn@BLKLawGroup.com
724-934-5450
724-934-5461
The attorney docket/reference number is Majik-1601 .


CORRESPONDENCE ADDRESS CHANGE
Applicant proposes to amend the following:
Current:
MAJIK MEDECINE, LLC
MAJIK MEDECINE, LLC
629 VILLAGE LANE SOUTH
MANDEVILLE
Louisiana
US
70471

Proposed:
Blynn L. Shideler of The BLK Law Group, having an address of
Suite 200 3500 Brooktree Road Wexford, Pennsylvania 15090
United States
Blynn@BLKLawGroup.com;Blynn@BLKLawGroup.com
724-934-5450
724-934-5461
The docket/reference number is Majik-1601 .



ADDITIONAL STATEMENTS
Disclaimer
No claim is made to the exclusive right to use CBD apart from the mark as shown.


Supplemental Register
The applicant seeks registration of the mark on the Supplemental Register (i.e., a change of the words 'Principal Register' to 'Supplemental
Register'). NOTE: The applicant has separately filed an Allegation of Use, to change the basis of this application from Section 1(b), intent-to-use,
to Section 1(a), use in commerce.


SIGNATURE(S)
Response Signature


                   Case 3:21-cv-00069-RJC-DCK Document 1-3 Filed 02/12/21 Page 8 of 9
Signature: /Blynn L. Shideler/ Date: 12/14/2016
Signatory's Name: Blynn L. Shideler
Signatory's Position: Attorney of Record, PA Bar Memmber

Signatory's Phone Number: 724-934-5450

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the owner's/holder's attorney
or an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent
not currently associated with his/her company/firm previously represented the owner/holder in this matter: (1) the owner/holder has filed or is
concurrently filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior
representative to withdraw; (3) the owner/holder has filed a power of attorney appointing him/her in this matter; or (4) the owner's/holder's
appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.

Mailing Address: Blynn L. Shideler
 The BLK Law Group
 Suite 200
 3500 Brooktree Road
 Wexford, Pennsylvania 15090

Serial Number: 86914580
Internet Transmission Date: Wed Dec 14 19:07:46 EST 2016
TEAS Stamp: USPTO/ROA-XXX.XXX.XXX.XX-201612141907464
86699-86914580-5701fb5ec1c45feb8e07c24a3
6e1b56245c7674c14f9de9f2f716538a399a0ce-
N/A-N/A-20161214185552202557




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